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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:13-CR-242
                                    )
v.                                  )                  Honorable Janet T. Neff
                                    )
DOUGLAS LEON FORTUNE,               )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the above-

captioned case on September 9, 2014, after receiving the written consent of defendant and all

counsel. At the hearing, defendant DOUGLAS LEON FORTUNE entered a plea of guilty to

Count 1 of the First Superseding Indictment in exchange for the undertakings made by the govern-

ment in the written plea agreement. In Count 1 of the First Superseding Indictment, defendant is

charged with conspiracy to commit bank fraud in violation of 18 U.S.C. § 1349. On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
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                I therefore recommend that defendant's plea of guilty to Count 1 of the First

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: September 9, 2014                                /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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